                                                                      U.S. Department of Justice
                                                                      United States Attorney
                                                                      District of Maryland
                                                                      Southern Division

David I. Salem                      Mailing Address:                  Office Location:           DIRECT: 301-344-4237
Assistant United States Attorney    6500 Cherrywood Lane, Suite 200   6406 Ivy Lane, 8th Floor     MAIN: 301-344-4433
David.Salem@usdoj.gov               Greenbelt, MD 20770-1249          Greenbelt, MD 20770-1249      FAX: 301-344-4516


                                                                      May 21, 2021

The Honorable Paula Xinis
United States District Court
District of Maryland
6500 Cherrywood Lane
Greenbelt, MD 20770

           Re:        United States v. Jeremy Schulman
                      Criminal No.: PX-20-0434

Dear Judge Xinis:

         The Government submits this letter in response to Defendant Jeremy Schulman’s letter
dated May 14, 2021 captioned “Giglio Discovery” (the “May 14 Letter”). (ECF 33.) In the May
14 Letter, the Defendant seeks leave to move to compel the production of all impeachment
evidence related to Abdiazaz Amalo. May 14 Letter at 3. The Government has always intended
to produce appropriate discovery material in a “timely” fashion, consistent with its obligations
under Rule 16, Brady and Giglio. Defendant is requesting early disclosure as either an exception
to these obligations, or creating a new obligation, while incorrectly couching it as the government’s
failure to timely produce these materials. Good-faith efforts to explain that early disclosure is not
warranted here have been unsuccessful, and thus the Government does not object to the
Defendant’s request for leave to file a motion. The Government briefly sets forth below how it
plans to comply with its obligations to disclose these materials, why the Defendant’s Giglio request
is not based in the law, and the accommodations it has made in response to Defendant’s request.

           I.         The Government Has Produced Exculpatory Information Under Brady And
                      Intends To Produce the Requested Giglio Material In A Timely Manner Such
                      That The Defense May Make Effective Use Of It

        Contrary to Defendant’s contention, the Government intends to, and has always intended
to, make a timely production of Giglio material. As reflected in the Defendant’s letter, May 14
Letter at 2, n. 1, the Government has produced potential Brady material, including, but not limited
to, potential Brady material as it relates to Mr. Amalo, and is aware of its ongoing obligations
related to Brady and Giglio. The Defendant has not identified any case law that requires all Giglio
materials to be produced prior to a trial date even being set. In fact, the cases cited by the
Defendant support the Government’s position that disclosure is not warranted at this time, and
Defendant has not identified any reason why this precedent should not be followed and why a new
rule requiring early disclosure should be adopted by the Court.


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        The Government is aware that due process requires that disclosure of exculpatory and
impeachment evidence material to guilt or innocence be made in sufficient time to permit the
defendant to make effective use of that information at trial. See, e.g. Weatherford v. Bursey, 429
U.S. 545, 559 (1997). “[T]here is no Brady violation if the defense is aware of the evidence in
time to reasonably and effectively use it at trial.” United States v. Jeffers, 570 F.3d 557, 573 (4th
Cir. 2009). Nothing in the case law, however, requires disclosure of the all Brady/Giglio
information for the entire case or for a specific witness before a trial date has been set. The precise
timing at which Brady or Giglio evidence must be disclosed depends on the specific nature of the
evidence at issue. United States v. Beckford, 962 F. Supp. 780, 788 (E.D. Va. 1997). The May 14
Letter does not cite any legal authority establishing that the Government is obligated to disclose
all the Giglio impeachment material now, when (1) the Government has completed extensive
discovery, including production of potential Brady material related to Mr. Amalo; (2) no trial date
is scheduled; and (3) trial does not appear imminent because of Covid-19-related scheduling
complications and the likelihood of extensive pre-trial litigation.

        The two cases cited by the Defendant, United States v. Elmore, 423 F.2d 775 (4th Cir.
1970) and Beckford, May 14 Letter at 2, support the Government’s position rather than the
Defendant’s position. See Elmore, 423 F.2d at 779 (“under these circumstances we think that at
the most the government should have only been required under Brady to disclose [this] statement
after [the witness] had testified”) (emphasis added). In Beckford, the defendants’ pre-trial
motions, like the contemplated motion here, sought “production of any proffer statements made
by Government witnesses to Government agents” and the plea agreements of four expected
government witnesses. Beckford, 960 F. Supp. at 803. The court held that the Government at
the earliest was required to produce some categories of Brady information approximately six
weeks before the commencement of trial, whereas other information could be produced three days
before the commencement of trial. Id at 795, 803. These precedents do not favor, let alone compel,
the early disclosure of all Brady and Giglio information sought by the Defendant here. 1

        II.      Production of Early Giglio Would Put Witnesses at Risk and Prejudice a Fair
                 Trial for No Compelling Reason

        Not only is the Government not required to make the early disclosure sought by the
Defendant, but courts have long recognized the important interests put at risk by such early
disclosure. In Beckford, the Fourth Circuit stated, “It is important . . . to remain mindful that the
determination of ‘effective use’ should not be judged solely from the perspective of the defense
counsel. Lawyers, of course, always would prefer to know information well in advance of trial.
But countervailing considerations may necessitate delayed disclosure.” Beckford, 960 F. Supp. at
792. Those considerations include “the protection of Government witnesses from influence,
threats, harassment, and physical harm,” id. at 795—all of which are fundamental to a fair trial.

        The Government here has a tangible concern that the Defendant or his co-conspirators
could seek to improperly influence or threaten potential witnesses. Among other things, it has
been publicly reported that former Central Bank Governor Yussur Abrar stated, in a resignation
letter she submitted in approximately October 2013, that her security was put at risk by persons



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         The May 14 Letter also mischaracterizes the Justice Manual’s provisions governing criminal discovery.
Regardless, the Justice Manual “is not intended to, does not, and may not be relied upon to create any rights,
substantive or procedural, enforceable at law by any party in any matter civil or criminal.” Justice Manual, 1-1.200.

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working with the Defendant. 2 Moreover, the Defendant’s purported justification for such early
disclosure—the need to have the information so he can “conduct extensive fact investigations
outside the United States,” May 14 Letter at 3—is a canard. The Defendant has ample information
to use in preparing his defense, including seven discovery productions, totaling more than 489,000
pages, and a detailed, 30-page indictment.

        More specifically, the Defendant already has extensive information about Mr. Amalo. The
two of them worked together throughout the five-year period (2009-2014) described in the
indictment. In the three years that followed, the Defendant continued to collaborate with Mr.
Amalo on various ventures, including Mr. Amalo’s aborted campaign for President in Somalia,
until Mr. Amalo was arrested on federal charges; the Defendant even attended Mr. Amalo’s
arraignment. Further, the Government’s discovery productions to date have included extensive
communications and materials obtained from Mr. Amalo. Accordingly, the Defendant has failed
to show that early disclosure of information related to Mr. Amalo’s statements to the Government
is necessary to prepare his defense.

         III.     The Government Intends to Comply with Its Brady/Giglio Obligations

        As noted above, the Government fully understands and appreciates that, pursuant to Brady,
Giglio, and its progeny, the Government is required to disclose evidence that is “both favorable to
an accused and ‘material to either guilt or punishment;” and that this requirement generally
includes the disclosure of evidence that could potentially be used to impeach or discredit a
government witness. We intend to produce discovery of all material that is required to be produced
pursuant to Rule 16, Brady, Giglio and the Jencks Act, and that is within our possession, custody,
or control. Further, we anticipate making a disclosure before June 1, 2021, of certain information
that arguably constitutes Brady information related to Mr. Amalo.


                                                               Respectfully submitted,


         DANIEL KAHN                                  JONATHAN F. LENZNER
         Acting Chief                                 Acting United States Attorney
         Fraud Section                                District of Maryland

                    /s                                          /s
         Jason M. Manning                             David I. Salem
         Amy Markopoulos                              Assistant United States Attorney
         Trial Attorneys




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         Drazen Jorgic, “Insight: Graft allegations test West’s ties Somali President,” Reuters (Feb. 14, 2014),
available at: https://www.reuters.com/article/us-somalia-corruption-insight/insight-graft-allegations-test-wests-ties-
to-somali-president-idUSBREA1D08P20140214.

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